                                    Case 1:21-cr-00599-RBW Document 7 Filed 10/06/21 Page 1 of 1

- .'
   AO 442 (Rev. 11111) Arrest Warrant



                                                          UNITED STATES DISTRICT COURT
                                                                                        for the
                                                                                District of Columbia

                           United States of America
                                                    v.                                    )       Case: 1:21-cr-00599
                           DONNIE DUANE WREN,                                             )
                                                and                                       )
                                                                                                  Assigned to: Judge Walton, Reggie B.
                           THOMAS HARLEN SMITH.                                           )       Assign Date: 9/24/2021
                                                                                          )
                                                                                          )       Description: INDICTMENT (8)
                                              Defondant

                                                                        ARREST WARRANT
   To:         Any authorized law enforcement officer

             YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
   (nome of person to be Q"ested) ~~~~~~~~
                                   Donnie Duane Wren                                                                --
   who is accused of an offense or violation based on the following document filed with the court:

  r;/ Indictment      a Superseding Indictment                                  a   Information        a   Superseding Information            a    Complaint
  o Probation Violation Petition    a Supervised                               Release Violation Petition         0 Violation Notice          (j   Order of the Court

   This offense is briefly described as follows:
       18 U.S.C.   § 231 (a)(3) - Civil Disorder
       18 U.S.C.   § 111(a)(1) - Assaulting. Resisting. or Impeding Certain Officers
       18 U.S.C.   § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds
       18 U.S.C.   § 1752(a)(2)· Disorderly and Disruptive Conduct in a Restricted Building or Grounds
       18 U.S.C.   § 1752(a)(4)· Engaging in Physical Violence in a Restricted Building or Grounds
       40 U.S.C.   § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building
       40 U.S.C.   § 5104(e)(2)(F). Act of Physical Violence in the Capitol Grounds or Buildings
                                                                                                                                            2021.09.24
                                                                                                                                            17:03:16 -04'00'
   Date:            O_912__ 4/_20.;;_;2:;_1     _
                                                                                                                   Issuing officer's signalure

   City and state:               Washington, DC                                                          ZIA M. FARUQUI, U.S. Magistrate Judge
                                                                                                                   Printed nome and title


                                                                                        Return

               This warra'lt Jl"as r~cejved on              (date)   10I y 1;)0 d I           • and the person   was arrested on    (dale) .L..>o<.-P-"'''_''''~'''''-I---
   at (city   and state)         I1t&O\ ,EloQda                        r   I        .

   Date: \0      Ie f;},o;;) I
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